
Dykman, J.—This is a motion for a reargument of the appeal in this action. The action was for the recovery of damages resulting to the plaintiff from the kick of a horse. The appeals were from the judgment and order denying motion for a new trial on the minutes of the court, and also from an order denying a motion for a new trial upon newly-discovered evidence. The case was fully examined, and an opinion was written in the case. The appeals presented no difficult questions. The verdict and judgment were in favor of the plaintiff, and were amply sustained by the testimony. The affidavits upon which this motion is based fails to make a case for a reargument. Nothing was overlooked, and no principal of law has been violated, and there is nothing to induce a belief that any different conclusion could or should be reached. The motion should be denied, with $10 costs and disbursements.
